EXHIBIT G
                               Official touts initiative for hospital funding
                                             The Advocate (Baton Rouge, Louisiana)
                                                    February 2, 2011 Wednesday
                                                           Main Edition


Copyright 2011 Capital City Press All Rights Reserved

Section: A; Pg. 05
Length: 330 words
Byline: MARSHA SHULER


CAPITOL NEWS BUREAU

Body


Louisiana's private hospitals should take advantage of a new state initiative that provides more federal health
dollars to pay for care they provide, state Department of Health and Hospitals Secretary Bruce Greenstein said
Tuesday.

"It's good money," Greenstein said. Greenstein explained the program at a Louisiana Hospital Association meeting
at which he also offered agency help in exploring its potential use by hospitals.

Under the program, non-profit coalitions of private hospitals agree to take over certain health-care services
previously paid for totally with state or local public service district hospital tax dollars.

The arrangements free up state and local health-care dollars that then can be used to bring in several times the
amount in additional federal dollars through Medicaid - the government health insurance program for the poor.

The participating hospitals individually have signed Low Income and Needy Care Collaboration Agreements.
Louisiana Medicaid is required to make quarterly payments to the hospitals that have agreements with the public
entities.

The payments come through what is known as the "upper payment limit." Called UPL, the program reimburses
hospitals for care for which they would otherwise have been ineligible. UPL is the difference between what the state
Medicaid program reimburses and the higher paying Medicare rate.

"Is this some kind of money laundering scheme?" Greenstein said. "Not at all. We are paying for services."

"Now we can make supplemental payments (to hospitals)," said Greenstein.

The LHA and the Jindal administration are promoting the program as a way for hospitals to offset more than $200
million in Medicaid cuts during the last two years.

With federal approval of the plan late last year, Greenstein said $27 million went out to participating hospitals
"before the ball dropped in Times Square."

The health agency is working on the next round of payments, which he said should be larger than the original $27
million.
                                                                               Page 2 of 2
                              Official touts initiative for hospital funding


Load-Date: February 2, 2011


  End of Document
